        Case 3:10-cv-01256-PG Document 62 Filed 09/19/12 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


MINUTES OF PROCEEDINGS

HONORABLE JUAN M. PEREZ-GIMENEZ                                DATE: September 19, 2012

LAW CLERK: Priscila ACEVEDO                                    CIVIL NO. 10-1256


TOMAS R WEST,

v.

ESTEBITA MOTORS, INC., ET AL.


STATUS CONFERENCE held in chambers.

•    Present were attorneys Julie A. Soderlund on behalf of plaintiff; Pablo H.
     Montaner-Cordero on behalf of co-defendant Servicio Dodge, Chrysler & Jeep.

•    The parties informed the Court that they have been unable to reach a settlement
     agreement that would dispose of the instant case because they are far apart. The
     parties discussed the merits of the claim with the court.

•    The plaintiff informed the court that it is in the process of filing requests for post-
     judgment remedies against defendant Estebita Motors, Inc., which has been found to
     be in default.

•    Further status conference set for December 14, 2012 at 10:30a.m..

•    Jury trial is expected to last three days. Trial is set to commence on February 25, 2013
     at 9:30a.m..
.

                                                               s/ Priscila Acevedo
                                                                    Law Clerk
